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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


JESSICA DECOURSEY and GRACE SIT, on                                Civil Action No. 3:22-CV-0353 (GTS/ML)
behalf of themselves and a class of all others
similarly situated,                                                CLASS ACTION COMPLAINT
                                         Plaintiffs,               and DEMAND FOR JURY TRIAL
v.

MURAD, LLC,

                                          Defendant.



         Plaintiffs Jessica DeCoursey and Grace Sit (“Plaintiffs”), individually and on behalf of

themselves and all others similarly situated, bring this class action lawsuit against Defendant

Murad, LLC (“Murad” or “Defendant”) based upon personal knowledge as to themselves, the

investigation of their counsel, and on information and belief as to all other matters.

                                                 INTRODUCTION

         1.       This is a class action lawsuit brought by Plaintiffs on behalf of consumers who

purchased certain Murad cosmetic products that are intended to be used in the eye area but are

unsafe for their intended use (the “Affected Murad Products”). The Affected Murad Products

include: Retinol Youth Eye Serum, Retinol Youth Renewal Night Cream, Retinol Youth Renewal

Serum, Nutrient-Charged Water Gel, Clarifying Water Gel, and Hydrating Toner. 1

         2.       Defendant designs, formulates, manufactures, markets, advertises, distributes, and

sells the Affected Murad Products to consumers throughout the United States.

         3.        The Affected Murad Products contain color additives that are not safe for use in

cosmetic products intended to be used in the eye area. The color additives in the Affected Murad


1
 Plaintiffs reserve the right to amend this list if further investigation and/or discovery reveals that the list should be
amended.

                                                            1
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Products include FD&C Red No. 4, D&C Red No. 33, and D&C Orange No. 4 (the “Unsafe Color

Additives”).

        4.      In fact, the United States Food and Drug Administration (“FDA”) prohibits the

Unsafe Color Additives in cosmetics intended to be used in the eye area unless specifically

authorized for such use through regulations. 2

        5.      Despite this, Murad directs consumers to use the Affected Murad Products in their

eye area. 3 For example, the below image appears on Murad’s product webpage for the Retinol

Youth Renewal Eye Serum.




        6.      As a direct and intended result of Defendant’s advertising, marketing, and

instructional videos consumers, Plaintiffs and Class members purchased the Affected Murad

Products with the understanding that the products could be in the eye area, as advertised.

        7.      Defendant knew or should have known of the dangers of using the Affected Murad

Products in the eye area, and has undertaken a deliberate and willful pattern of conduct (including


2
  21 CFR § 74.2304 (FD&C Red No. 4); 21 CFR § 74.2333 (D&C Red No. 33); 21 CFR § 74.2254 (D&C Orange
No. 4); 21 U.S.C. 379e(a)(1)(A).
3
  MURAD, https://www.murad.com/product/new-retinol-youth-renewal-eye-serum/ (last visited April 13, 2022).

                                                     2
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taking active measures) aimed at deceiving consumers, including Plaintiffs, to believe that the

Affected Murad Products are safe to use for their intended purpose.

        8.      Defendant failed to disclose to Plaintiffs and Class members that the Affected

Murad Products are unsafe for use in the eye area and that they should not be used in the eye area.

Defendant could have placed a prominent and conspicuous safety warning alerting consumers that

the products should not be used in the eye area, but Defendant failed to do so.

        9.      Plaintiffs and Class members purchased the Affected Murad Products with the

expectation that the products were safe for their intended purpose. Because Defendant sold

adulterated products to Plaintiffs and Class members, Plaintiffs and Class members were deprived

of the benefit of their bargain.

        10.     At all relevant times, Defendant knew, or should have known, that the Affected

Murad Products were unsafe for their intended purpose.

        11.     Plaintiffs and Class members were unaware that the Affected Murad Products were

unsafe for use in the eye area at the time they purchased the products. Had Plaintiffs and Class

members known the Affected Murad Products were unfit for their intended purpose, they would

not have purchased Affected Murad Products or would have paid substantially less for them.

        12.     Plaintiffs and all putative Class members purchased an Affected Murad Product

which posed a safety risk. Plaintiffs and each of the Class members have been damaged and

suffered an injury in fact caused by Defendant’s false, unfair, deceptive, and misleading practices,

as set forth herein. Plaintiffs seek monetary relief in the form of damages and/or disgorgement of

profits unjustly earned by Defendant.

        13.     Plaintiffs also seek injunctive relief including, but not limited to, the removal of the

Unsafe Color Additives from the Affected Murad Products, or in the alternative, the addition of a



                                                   3
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plain and conspicuous warning as to the dangers posed by use of the product in the eye area, and

ceasing of all advertisements and marketing materials instructing consumers to use the Affected

Murad Products in the eye area.

        14.      Plaintiffs seek monetary, declaratory, and injunctive relief against Defendant on

behalf of themselves and other similarly-situated consumers by asserting claims for (i) breach of

implied warranty; (ii) violations of New York General Business Law § 349; (iii) violations of New

York General Business Law § 350; (iv) violations of Missouri Merchandising Practices Act, Mo.

Ann. Stat. § 407.010 et seq.; (v) negligence – failure to warn; and (vi) unjust enrichment.

                                                   PARTIES

        15.      Plaintiff Jessica DeCoursey is a resident and citizen of the state of New York. In

November of 2021, Plaintiff DeCoursey purchased Murad Retinol Youth Renewal Eye Serum at

an Ulta retail store located in Ithaca, New York. After using the product one time, Plaintiff

DeCoursey’s eyes became red and irritated, developed discharge, and began to swell and tear.

Immediately after using the product, she called Defendant to inquire about the ingredients. She

was unable to reach an employee to speak to. 4 Plaintiff DeCoursey also purchased Retinol Youth

Renewal Serum in June 2021 from an Ulta retail store located in Dickson City, Pennsylvania, and

Retinol Youth Renewal Serum and Retinol Youth Renewal Night Cream in November 2021 from

a CosmoProf retail store located in Scranton, Pennsylvania. The Retinol Youth Renewal serum

made her eyes water. The Affected Murad Products purchased by Plaintiff DeCoursey should not

have been sold in the manner in which they were. When purchasing the Affected Murad Products,

Plaintiff DeCoursey reviewed the accompanying labels and disclosures. Plaintiff DeCoursey

relied on these representations and warranties in deciding to purchase the Affected Murad


4
 Plaintiff DeCoursey does not seek relief for the personal bodily injury resulting from the use of Affected Murad
Products.

                                                         4
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Products. Nowhere on the labels did Defendant disclose that the products should not be used in

the eye area. Plaintiff DeCoursey would not have purchased the Affected Murad Products had she

known that the products contained unsafe color additives.

       16.     Plaintiff Grace Sit is a resident and citizen of the state of Missouri. In or around

2020, Ms. Sit purchased Retinol Youth Renewal Night Cream from a Macy’s retail store located

in St. Peters, Missouri. In the summer of 2021, Plaintiff Sit also purchased Clarifying Oil-Free

Water Gel from a Walmart retail store located in either St. Peters or O’Fallon, Missouri. The

Affected Murad Products purchased by Ms. Sit should not have been sold in the manner in which

they were. When purchasing the Affected Murad Products, Plaintiff Sit reviewed the

accompanying labels and disclosures. Plaintiff Sit relied on these representations and warranties

in deciding to purchase the Affected Murad Products. Nowhere on the labels did Defendant

disclose that the products should not be used in the eye area. Ms. Sit would not have purchased

the Affected Murad Products had she known that the products contained unsafe color additives.

       17.     Murad, LLC is a Delaware company with its principal place of business located at

2121 Park Place, First Floor, El Segundo, CA 90245. At all relevant times hereto, Defendant was

engaged in manufacturing, marketing, distributing, and advertising Affected Murad Products

throughout the United States. Defendant created and/or authorized the advertising and labeling of

the Affected Murad Products.


                                JURISDICTION AND VENUE

       18.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(d) because

there are more than 100 Class members; the aggregate amount in controversy exceeds

$5,000,000.00, exclusive of interest, fees, and costs; and at least one Class member is a citizen of

a state different from the Defendant.


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        19.      This Court has personal jurisdiction over Defendant because Defendant sold the

Affected Murad Products to consumers in New York, including to Plaintiff DeCoursey. Defendant

derives substantial revenue from sales of its products in this State, with knowledge that its products

are being marketed and sold for use in this State.

        20.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 because a substantial

part of Defendant’s conduct giving rise to the claims occurred in this District, including Plaintiff

DeCoursey’s purchase of an Affected Murad Product.


                                       FACTUAL ALLEGATIONS
A.      The Cosmetic Industry
        21.      Skincare is one of the most profitable cosmetic product categories, as its revenue is

projected to generate roughly 177 billion U.S. dollars in 2025. 5

        22.      Within the cosmetic industry in the United States, eye care products make up the

most popular segment.




5
  Cosmetics industry - Statistics & Facts, STATISTA, https://www.statista.com/topics/3137/cosmetics-
industry/#topicHeader__wrapper (last visited April 13, 2022).

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B.      The Affected Murad Products Contain Unsafe Color Additives

        23.     Each of the Affected Murad Products contain one or more of the Unsafe Color

Additives.
              Product                          Average                       Unsafe
               Name                             Price                     Color Additive
     Retinol Youth Renewal
     Eye Serum                           $87.00                   FD&C Red No.4
     Retinol Youth Renewal
     Night Cream                         $84.00                   FD&C Red No.4
     Retinol Youth Renewal
     Serum                               $89.00                   FD&C Red No.4
     Nutrient-Charged Water                                       FD&C Red No.4,
                                         $63.00
     Gel                                                          D&C Red No. 33
     Clarifying Water Gel                $46.00                   D&C Red No. 33
                                                                  FD&C Red No.4,
     Hydrating Toner                     $37.00
                                                                  D&C Orange No.4


        24.     The Unsafe Color Additives are not safe for use in the eye area. For example, the

DC Fine Chemicals’ Safety Data Sheet for FD&C Red No. 4 powder notes that first aid measures

are necessary if the ingredient contacts the eye. 6 The Safety Data Sheet calls for “removing the

contact lenses, if present and if it is easy to do. Wash eyes with plenty of clean and cool water for

at least 10 minutes while pulling the eyelids up, and seek medical assistance. Don’t let the person

[rub] the affected eye.” 7 In addition, 2015 study noted Red No. 4 may disrupt endocrine activity. 8

        25.     Similarly, Spectra Colors Corporation’s Safety Data Sheet for D&C Red No. 33

notes that the ingredient poses several hazards, including if inhaled, if swallowed, or if exposed to


6
  Safety Data Sheet – FD&C Red 4 Powder, DC FINE CHEMICALS,
https://www.dcfinechemicals.com/catalogo/Hojas%20de%20seguridad%20(EN)/117320-SDS-EN.pdf
7
  Id.
8
  FD&C Red No. 4 (CI 14700), EWG – EWG’S SKIN DEEP, https://www.ewg.org/skindeep/ingredients/702429-
FD&C_Red_No-FDC_Red_No_4_CI_14700-FDC_Red_No_4_CI_14700-FDC_Red_No_4_CI_14700-
FDC_Red_No_4_CI_14700/ (last visited April 13, 2022).

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the eyes. 9 When exposed to the eyes, Red No. 33 can cause irritation, and should be rinsed

cautiously with water for several minutes, after removing contact lenses if present. 10 If eye

irritation persists, medical attention should be sought out. 11

       26.     Spectra Colors Corporation’s Safety Data Sheet for D&C Orange No. 4 notes that

the ingredient poses several hazards, including if inhaled, if swallowed, or if exposed to the eyes. 12

When exposed to the eyes, the D&C Orange No. 4 may cause irritation, and should be rinsed

cautiously with water for several minutes, after removing contact lenses if present. 13 If eye

irritation persists, medical attention should be sought out. 14

       27.     The risks associated with using the Unsafe Color Additives in the eye area is well-

documented. The FDA is likewise aware of the risks of harm and, for these reasons, the FDA

prohibits the use of Unsafe Color Additives in cosmetics intended to be used in the eye area. 15

       28.     Intended use is described as “articles intended to be rubbed, poured, sprinkled, or

sprayed on, introduced into, or otherwise applied to the human body...for cleansing, beautifying,

promoting attractiveness, or altering the appearance.” 16

       29.     For cosmetics intended to be in the eye area, color additives may not be used unless

the regulation for the color additive specifically permits its use for that purpose. 17 For example,




9
  Safety Data Sheet - D & C RED 33, SPECTRA COLORS CORP., https://spectracolors.com/wp-
content/uploads/2017/04/4.FD_.033000-SDS.pdf (last visited April 13, 2022).
10
   Id.
11
   Id.
12
   Safety Data Sheet – D & C ORANGE 4, SPECTRA COLORS CORP., https://spectracolors.com/wp-
content/uploads/2017/04/2.FD_.004000-SDS.pdf (last visited April 13, 2022).
13
   Id.
14
   Id.
15
   21 CFR § 74.2304 (FD&C Red No. 4); 21 CFR § 74.2333 (D&C Red No. 33); 21 CFR § 74.2254 (D&C Orange
No. 4); 21 U.S.C. 379e(a)(1)(A); Color Additives Permitted for Use in Cosmetics, U.S. FOOD & DRUG
ADMINISTRATION, https://www.fda.gov/cosmetics/cosmetic-ingredient-names/color-additives-permitted-use-
cosmetics (last accessed April 13, 2022).
16
   FD&C Act, sec. 201(i).
17
   21 CFR 70.5(a).

                                                   8
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21 CFR 74.2101(c) specifically notes that “FD&C Blue No. 1 may be safely used for coloring

cosmetics generally, including cosmetics intended for use in the area of the eye . . . .”

        30.      The FDA can also impose conditions on the use of color additives to be used in the

eye area, as 21 CFR 74.2340(b) demonstrates: “FD&C Red No. 40 may be safely used in color

cosmetics generally, except that only FD&C Red No. 40 and FD&C Red No. 40 Aluminum Lake

may be safely used in coloring cosmetics intended for use in the area of the eye . . . subject to the

following restrictions: (b)(2) The color additive shall not be exposed to oxidizing or reducing

agents that may affect the integrity of the color additives . . . .”

        31.      The FDA published a table to serve as a “quick reference” in determining which

color additives may be used in different types of cosmetics. 18 For each of the Unsafe Color

Additives, the FDA notes that it is not permitted to be used in the eye area. 19

        32.      As such, the Affected Murad Products are adulterated because they fail to meet

color additive requirements 20 and labels of products containing color additives must be labeled

with sufficient information to assure their safe use. 21 Where the product is subject to limitations,

such as not being safe for use in the area of the eye, it must have a plain and conspicuous statement

such as “Do not use in the area of the eye.” 22

        33.      Defendant does not include such a warning on the Affected Murad Product labels

or in advertising and marketing materials.




18
   Color Additives Permitted for Use in Cosmetics, U.S. FOOD & DRUG ADMINISTRATION,
https://www.fda.gov/cosmetics/cosmetic-ingredient-names/color-additives-permitted-use-cosmetics (last accessed
April 13, 2022).
19
   Id.
20
   21 USC 361(e); see FD&C Act, sec. 601(e)
21
   21 CFR 70.25(a).
22
   21 CFR 70.25(c).

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C.         The Affected Murad Products Are Intended To Be Used In The Eye Area

           34.      The normal, expected, and intended use for the Affected Murad Products include

use in the eye area.

           35.      The “eye area” refers to “the area enclosed within the circumference of the supra-

orbital ridge and the infra-orbital ridge, including the eyebrow, the skin below the eyebrow, the

eyelids and the eye lashes, and conjunctival sac of the eye, the eyeball, and the soft areolar tissue

that lies within the perimeter of the infra-orbital ridge.” 23

           36.      The supra- and infra-orbital ridges are also known as the supra- and infra-orbital

margins.         In basic terms, this region describes the area between the eyebrow and cheek bone,

including everything between.         The region between the supra- and infra-orbital margins is

visualized in the space between 9 and 25 in the below graphic:




23
     21 CFR 70.3(s).

                                                    10
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           37.     However, the Affected Products are not unsafe for use in the eye area.

           38.     As described in more detail below, Defendant instructs users to use each of the

Affected Murad Products in the eye area.

           39.     Competitor companies with products similar to the Affected Murad Products either

(1) do not contain the Unsafe Color Additives; or (2) do not direct users of the products to apply

the products in the eyes area and warn against using the products in the eye area.

           40.     For example, Arcona instructs users of its Youth Serum product to apply the

product directly to the eye area, 24 however, the Arcona Youth Serum does not include any of the

Unsafe Color Additives. 25




24
     ARCONA, https://www.arcona.com/product/youth-serum.html (last visited April 13, 2022).
25
     Id.

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           41.      Similarly, Dr. Sam’s instructs users of its Flawless Moisturizer product to “apply

to eye area and neck (skin is skin!)[,]” 26 but Dr. Sam’s Flawless Moisturizer does not include any

of the Unsafe Color Additives. 27




26
     DR. SAM’S, https://us.drsambunting.com/products/flawless-moisturiser (last visited April 13, 2022).
27
     Id.

                                                          12
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        42.     Lancome’s Rose Sorbet Cryo-Mask product does contain FD&C Red No. 4 and

D&C Red No. 33, 28 but contrary to Murad, Lancome instructs users to avoid the eye area and lip

contours. 29 The warning also appears on the product itself.




D.      Murad Directs Consumers To Use The Affected Murad Products In The Eye Area

        43.     Each of the Affected Murad Products contain Unsafe Color Additives, however,

Murad directs customers to use the Affected Murad Products in the eye area.




28
   LANCOME, https://www.lancome-usa.com/skincare/rose-sorbet-cryo-
mask/LAN385.html#tab=Tabs_18x8sldcn56_control_0 (last visited April 13, 2022).
29
   Id.

                                                    13
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           44.     For example, Murad’s Hydrating Toner instructs users to “hold bottle 8-10 inches

away from face, close [their] eyes & mist evenly onto skin.” 30




           45.     Defendant explicitly states that its Retinol Youth Renewal Eye Serum is intended

for use in the eye area and provides photographic instruction to use it in the eye area. 31




30
     MURAD, https://www.murad.com/product/hydrating-toner/ (last visited April 13, 2022).
31
     MURAD, https://www.murad.com/product/new-retinol-youth-renewal-eye-serum/ (last visited April 13, 2022).

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        46.     On its website, Defendant instructs consumers to “gently pat Retinol Youth

Renewal Eye Serum around under-eyes & lids.” 32




        47.     Similarly, Murad’s Retinol Youth Renewal Serum is intended to be used in the eye

area. Murad’s promotional video for the product shows the product applied to the eye area. 33




32
  MURAD, https://www.murad.com/product/new-retinol-youth-renewal-eye-serum/ (last visited April 13, 2022).
33
  Murad Resurgence Retinol Youth Renewal Serum - Anti-Aging Serum for Lines and Wrinkles - Retinol Serum for
Face and Neck - Youth Serum for Smoother Skin, AMAZON, https://www.amazon.com/Murad-Retinol-Youth-
Renewal-Serum/dp/B01K629LDI (last visited April 13, 2022).

                                                     15
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        48.      Defendant instructs consumers to apply the Murad Retinol Youth Renewal Night

Cream evenly over face, and Murad’s product page includes an instructional video showing the

Retinol Youth Renewal Night Cream being applied in the eye area. 34




        49.      Murad’s Nutrient-Charged Water Gel is similarly intended to be used in the eye

area. Murad’s product instructions state that the product should be massaged over the face, 35 and

Murad-sponsored promotional videos Murad specifically show the product’s use in the eye area.36




34
   MURAD, https://www.murad.com/product/new-retinol-youth-renewal-night-cream/ (last visited April 13, 2022).
35
   MURAD, https://www.murad.com/product/nutrient-charged-water-gel/ (last visited April 13, 2022).
36
   FACEBOOK, https://www.facebook.com/watch/?v=10155279992937124 (last visited April 13, 2022).

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        50.      Finally, Defendant instructs consumers to massage the Clarifying Water Gel evenly

over the face, 37 and its accompanying promotional video demonstrates the product being “dabbed”

on the eye area 38




E.      The Color Additives Are Not Key Ingredients In The Affected Products

        51.      Murad’s use of the Unsafe Color Additives is purely cosmetic. 39

        52.      For example, the key active ingredients in Defendant’s Retinol Youth Renewal Eye

Serum product are a Retinol Tri-Active Technology (“a fast acting retinoid, a time-released retinol

and a retinol booster”), cotton wool grass extract, and Marine Kelp Complex. 40 These ingredients

are listed in the “Ingredient Spotlight” on Defendant’s website. 41



37
   MURAD, https://www.murad.com/product/clarifying-oil-free-water-gel-moisturizer/ (last visited April13, 2022).
38
   Id.
39
   Color additives merely “impart color to a food, drug, or cosmetic or to the human body.” Color Additives History,
U.S. FOOD & DRUG ADMINISTRATION, https://www.fda.gov/industry/color-additives/color-additives-history (last
visited April 13, 2022); Color additives can also impart colors to medical devices. FDA Regulation of Color
Additives in Drug Products, U.S. FOOD & DRUG ADMINISTRATION, https://www.fda.gov/media/122829/download,
p. 3 (last visited April13, 2022).
40
   MURAD, https://www.murad.com/product/new-retinol-youth-renewal-eye-serum/ (last visited April 13, 2022).
41
   Id.

                                                        17
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        53.      The key active ingredients in Defendant’s Retinol Youth Renewal Serum are

Retinol Tri-Active Technology, Swertia Flower Extract, and Hyaluronic acid. 42 These ingredients

are listed in the “Ingredient Spotlight” on Defendant’s website. 43

        54.      The key active ingredients in Defendant’s Retinol Youth Renewal Night Cream are

Retinol Tri-Active Technology, Niacinamide, and Picolinamide. 44 These ingredients are listed in

the “Ingredient Spotlight” on Defendant’s website. 45

        55.      The key active ingredients in Defendant’s Hydrating Toner are Lecithin and Grape

Seed Extract, Peach and Cucumber Fruit Extracts, and osmolytes. 46 These ingredients are listed in

the “Ingredient Spotlight” on Defendant’s website. 47

        56.      The key active ingredients in Defendant’s Nutrient-Charged Water Gel are

Vitamins B3, B5, B6, B9, and E, Silicon, Iron, Zinc, Copper and Magnesium, Oligopeptide-1,

Oligopeptide-2, Polypeptide-1, Polypeptide-9 and Polypeptide-11. 48 These ingredients are listed

in the “Ingredient Spotlight” on Defendant’s website. 49

        57.      The key active ingredients in Defendant’s Clarifying Water Gel are Salicylic Acid,

Sustained Release Hyaluronic Acid, Korean Red Pine Extract, and Ginger Root Extract. 50 These

ingredients are listed in the “Ingredient Spotlight” on Defendant’s website. 51




42
   MURAD, https://www.murad.com/product/retinol-youth-renewal-serum/ (last visited April 13, 2022).
43
   Id.
44
   MURAD, https://www.murad.com/product/new-retinol-youth-renewal-night-cream/ (last visited April 13, 2022).
45
   Id.
46
   MURAD, https://www.murad.com/product/hydrating-toner/ (last visited April 13, 2022).
47
   Id.
48
   MURAD, https://www.murad.com/product/nutrient-charged-water-gel/ (last visited April 13, 2022).
49
   Id.
50
   MURAD, https://www.murad.com/product/clarifying-oil-free-water-gel-moisturizer/ (last visited April 13, 2022).
51
   Id.

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       58.     The Unsafe Color Additives are not required ingredients in the Affected Murad

Products. Murad’s competitors manufacture and sell products that do not contain the Unsafe Color

Additives. See supra, § C.

       59.     In effect, Murad could have produced the Affected Murad Products without the

Unsafe Color Additives.

       60.     Alternatively, Defendant could have included a conspicuous warning on the

Affected Murad Product labels and in advertising materials warning customers that the products

are not safe for use in the eye area.

       61.     Instead, Murad instructed users to use the Affected Murad Products in the eye area.

       62.     Plaintiffs and each of the Class members have been damaged and suffered an injury

in fact caused by Defendant’s false, unfair, deceptive, and misleading practices, as set forth herein,

and seek compensatory damages and injunctive relief. As a result, Defendant’s actions violate

both consumer fraud statutes and, separately, FDA regulations.

                               CLASS ACTION ALLEGATIONS

       63.     Plaintiffs bring this action pursuant to Rule 23(a), (b)(2), and (b)(3) of the Federal

Rules of Civil Procedure, individually and on behalf of the following Classes:

               All persons who purchased one or more of Defendant’s Affected Murad
               Products in the United States for personal/household use within any
               applicable limitations period (the “Nationwide Class”).
       64.     Plaintiff DeCoursey brings this action individually and on behalf of the following

New York subclass:

               All persons who purchased one or more of Defendant’s Affected Murad
               Products in the state of New York for personal/household use within any
               applicable limitations (the “New York Subclass”).
       65.     Plaintiff Sit brings this action individually and on behalf of the following Missouri

subclass:


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               All persons who purchased one or more of Defendant’s Affected Murad
               Products in the state of Missouri for personal/household use within any
               applicable limitations (the “Missouri Subclass”).

       66.     Excluded from the Class and Subclass are: (1) any Judge or Magistrate presiding

over this action and any members of their families; (2) Defendant, Defendant’s subsidiaries,

parents, successors, predecessors, and any entities in which Defendant or its parents and any

entities in which Defendant has a controlling interest and its current or former employees, officers,

and directors; and (3) individuals who allege personal bodily injury resulting from the use of the

Affected Murad Products.

       67.     Numerosity (Rule 23(a)(1)): The exact number of members of the Class is unknown

and currently unavailable to Plaintiffs, but joinder of individual members herein is impractical.

The Class is likely comprised of thousands of consumers. The precise number of Class members,

and their addresses, is unknown to Plaintiffs at this time, but can be ascertained from Defendant’s

records and/or retailer records. The members of the Class may be notified of the pendency of this

action by mail or email, Internet postings and/or publications, and supplemented (if deemed

necessary or appropriate by the Court) by published notice.

       68.     Predominant Common Questions (Rule 23(a)(2) and (b)(3)): The Class’s claims

present common questions of law and fact, and those questions predominate over any questions

that may affect individual Class members. The common and legal questions include, but are not

limited to, the following:

               a.      Whether the Affected Murad Products contain Unsafe Color Additives;

               b.      Whether the Unsafe Color Additives are key ingredients of the Affected

                       Murad Products;

               c.      Whether the Affected Murad Products are unsafe for their intended use;



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               d.     Whether the Affected Murad Products are unsafe for use in the eye area;

               e.     Whether the Affected Murad Products are intended to be used in the eye

                      area;

               f.     Whether Murad directed its customers to use the Affected Murad Products

                      in the eye area;

               g.     Whether the Affected Murad Products contained a warning to avoid use in

                      the eye area;

               h.     Whether Murad should be required to include a warning to avoid use in the

                      eye area on the Affected Murad Products;

               i.     Whether Defendant violated the state consumer protection statutes alleged

                      herein;

               j.     Whether Defendant breached its implied warranties;

               k.     Whether Defendant was negligent;

               l.     Whether Defendant was unjustly enriched; and

               m.     The nature of relief, including damages and equitable relief, to which

                      Plaintiffs and members of the Class are entitled.

       69.     Typicality of Claims (Rule 23(a)(3)): Plaintiffs’ claims are typical of the claims of

the Class because Plaintiffs, like all other Class members, purchased the Affected Murad Products,

suffered damages as a result of that purchase, and seek the same relief as the proposed Class

members.

       70.     Adequacy of Representation (Rule 23(a)(4)): Plaintiffs adequately represent the

Class because their interests do not conflict with the interests of the members of the Class, and

they have retained counsel competent and experienced in complex class action and consumer



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litigation. Plaintiffs and their counsel will fairly and adequately protect the interest of the members

of the Class.

       71.      Superiority (Rule 23(b)(3)): A class action is superior to other available means of

adjudication for this controversy. It would be impracticable for members of the Class to

individually litigate their own claims against Defendant because the damages suffered by Plaintiffs

and the members of the Class are relatively small compared to the cost of individually litigating

their claims. Individual litigation would create the potential for inconsistent judgments and delay

and expenses to the court system. A class action provides an efficient means for adjudication with

fewer management difficulties and comprehensive supervision by a single court.

       72.      Declaratory Relief (Fed. R. Civ. P. 23(b)(1) and (2)): In the alternative, this action

may properly be maintained as a class action because the prosecution of separate actions by

individual members of the Class would create a risk of inconsistent or varying adjudication with

respect to individual Class members, which would establish incompatible standards of conduct for

the Defendant; or the prosecution of separate actions by individual Class members would create a

risk of adjudications with respect to individual members of the Class which would, as a practical

matter, be dispositive of the interests of other members of the Class not parties to the adjudications,

or substantially impair or impede their ability to protect their interests; or Defendant has acted or

refused to act on grounds generally applicable to the Class, thereby making appropriate final

injunctive or corresponding declaratory relief with respect to the Class as a whole.




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                                       CAUSES OF ACTION

                                             COUNT I
                                BREACH OF IMPLIED WARRANTY
                                 (On behalf of the Nationwide Class)

        73.     Plaintiffs hereby incorporate all other paragraphs of this Complaint and restate them

as if fully set forth herein.

        74.     As described above, Plaintiffs have standing to pursue this claim because Plaintiffs

suffered injury-in-fact and have lost money or property as a result of Defendant’s conduct.

        75.     Defendant was at all relevant times the manufacturer, distributor, warrantor, and/or

seller of the Affected Murad Products. Defendant knew or had reason to know of the specific use

for which Affected Murad Products were purchased, including that the Affected Murad Products

were marketed, advertised, and sold to be used in the eye area.

        76.     By placing the Affected Murad Products into the stream of commerce, Defendant

provided Plaintiffs and Nationwide Class members with implied warranties that the Affected

Murad Products were merchantable and fit for the ordinary purposes for which they were sold.

        77.     However, the Affected Murad Products are not fit for their ordinary purpose of

being used in the eye area because, inter alia, the Affected Murad Products contain Unsafe Color

Additives causing them to become dangerous and unsuitable for their intended use and Defendant

directs consumers to use the Affected Murad Products in the eye area.

        78.     As such, the Affected Murad Products cannot safely be used for their intended

purpose, and thus constitute a breach of the implied warranty of merchantability.

        79.     These problems are caused by Defendant’s failure to adequately warn Plaintiffs and

consumers that the Affected Murad Products are not safe for use in the eye area.

        80.     Plaintiffs and Nationwide Class members were unaware that the products were


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unsafe for use in the eye area at the time they purchased the Affected Murad Products.

       81.     Defendant impliedly warranted that Affected Murad Products were of

merchantable quality and fit for such use. These implied warranties included, among other things:

(i) a warranty that Affected Murad Products manufactured, supplied, distributed, and/or sold by

Defendant were safe and reliable for use near the eye area; and (ii) a warranty that the Affected

Murad Products were fit for their intended use.

       82.     Contrary to the applicable implied warranties, the Affected Murad Products, at the

time of sale and thereafter, were not fit for their ordinary and intended purpose of providing

Plaintiff and Nationwide Class members with a safe cosmetic product. Instead, the Affected Murad

Products were unsafe for their intended use.

       83.     Defendant’s actions, as complained of herein, breached the implied warranties that

the Affected Murad Products were of merchantable quality and fit for such use.

       84.     Defendant’s intended beneficiaries of these implied warranties were ultimately

Plaintiffs and the Nationwide Class, not third-party retailers, resellers or distributors who sold the

products. Moreover, Defendant exercises substantial control over which outlets can carry and sell

its products, which are the same places that Plaintiffs and Nationwide Class members purchased

the Affected Murad Products. In addition, Defendant’s warranties are in no way designed to apply

to the third-party retailers, resellers or distributors who purchase the Affected Murad Products in

bulk and then sell them on an individual basis to consumers. Individual consumers are the ones

who ultimately review the labels prior to making any purchasing decisions. Accordingly, these

warranties are specifically designed to benefit the individual consumers who purchase the Affected

Murad Products.

       85.     Plaintiffs and Nationwide Class members sustained damages as a direct and



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proximate result of Defendant’s breaches in that they paid a premium for the Affected Murad

Products that they would not have otherwise paid. Plaintiffs and the Nationwide Class also did not

receive the value of the products they paid for—the Affected Murad Products are worthless or

worth far less than Defendant represents.

        86.     Defendant’s conduct described in this complaint constitutes a breach of implied

warranties under UCC §§ 2-314 and 2-315, as adopted in whole or in substance by statutes in all

50 states and the District of Columbia.

        87.     Plaintiffs and the Nationwide Class have sustained, are sustaining, and will sustain

damages if Defendant continues to engage in such deceptive, unfair, and unreasonable conduct.

        88.     As a result of the breach of the implied warranty of merchantability, Plaintiffs and

Nationwide Class Members are entitled to legal and equitable relief, including injunctive relief,

damages, attorneys’ fees, litigation expenses and costs rescission, and/or other relief as deemed

appropriate, for an amount to compensate them for not receiving the benefit of their bargain.

        89.     On February 9, 2022 and April 6, 2022, prior to filing this action, Defendant was

served with pre-suit notice letters sent on behalf of Plaintiffs Sit and DeCoursey, respectively.


                                             COUNT II

       VIOLATION OF NEW YORK GENERAL BUSINESS LAW § 349, ET SEQ.
                     (On behalf of the New York Subclass)
        90.     Plaintiff DeCoursey hereby incorporates all other paragraphs of this Complaint

and restates them as if fully set forth herein.

        91.     Plaintiff DeCoursey brings this count on behalf of herself and all members of the

New York Subclass.

        92.     New York’s General Business Law § 349 prohibits deceptive acts or practices in

the conduct of any business, trade, or commerce.

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        93.        In its sale of goods throughout the State of New York, Defendant conducts business

and trade within the meaning and intendment of New York’s General Business Law § 349.

        94.        Plaintiff DeCoursey and members of the New York Subclass are consumers who

purchased the Affected Murad Products from Defendant for their personal use.

        95.        By the acts and conduct alleged herein, Defendant engaged in deceptive, unfair,

and misleading acts and practices, which include, without limitation: (1) failing to warn or disclose

to purchasers of the Affected Murad Products that the Affected Murad Products are not safe to use

in the eye area; (2) providing instructions to use the Affected Murad Products in the eye area; (3)

utilizing celebrities and influencers to advertise products and instruct consumers to use the

Affected Murad Products in the eye area; (4) advertising or marketing the Affected Murad Products

while knowing, or in the direct position to know, that the Affected Murad Products should not

have been sold in the manner in which they are; and (5) representing that the Affected Products

are safe to use.

        96.        Defendant concealed and omitted material facts regarding the true nature of the

Affected Murad Products.

        97.        The foregoing deceptive acts and practices were directed at consumers.

        98.        The foregoing deceptive acts and practices are misleading in a material way

because they fundamentally misrepresent the characteristics and quality of the Affected Murad

Products to induce consumers to purchase the products.

        99.        Defendant’s representations and omissions were material because they were likely

to deceive reasonable consumers.

        100.       Defendant possessed information about the Affected Murad Products, including,

but not limited to the fact that the Unsafe Color Additives included in the product are not safe for



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use in the eye area, which was relevant to Plaintiff DeCoursey and New York Subclass members,

but failed to disclose this information.

        101.    By reason of this conduct, Defendant engaged in deceptive conduct in violation of

New York’s General Business Law.

        102.    Defendant’s actions are the direct, foreseeable, and proximate cause of the damages

that Plaintiff DeCoursey and members of the New York Subclass have sustained from having paid

for Defendant’s Affected Murad Products.

        103.    As a result of Defendant’s violations, Plaintiff DeCoursey and members of the New

York Subclass have suffered damages because: (a) they would not have purchased the Affected

Murad Products on the same terms, if at all, if they knew that the Affected Murad Products were

not safe for their intended use; and (b) the Affected Murad Products do not have the characteristics,

uses, benefits, or qualities as promised.

        104.    On behalf of herself and other members of the New York Subclass, Plaintiff

DeCoursey brings this action to enjoin Defendant’s unlawful and deceptive acts or practices and

seeks to recover actual damages or fifty dollars, whichever is greater, per violation, three times

actual damages, and reasonable attorneys’ fees.


                                             COUNT III

       VIOLATION OF NEW YORK GENERAL BUSINESS LAW § 350, ET SEQ.
                     (On behalf of the New York Subclass)
        105.    Plaintiff DeCoursey hereby incorporates all other paragraphs of this Complaint

and restates them as if fully set forth herein.

        106.    Plaintiff DeCoursey brings this count on behalf of herself and all members of the

New York Subclass that purchased Affected Murad Products.



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       107.    New York’s General Business Law § 350 prohibits false advertising in the conduct

of any business, trade, or commerce.

       108.    Pursuant to said statute, false advertising is defined as “advertising, including

labeling, of a commodity … if such advertising is misleading in a material respect.”

       109.    Based on the foregoing, Defendant engaged in consumer-oriented conduct that is

deceptive or misleading in a material way which constitutes false advertising in violation of

Section 350 of New York’s General Business Law.

       110.    Defendant’s false, misleading, and deceptive representations and omissions of fact

about the Affected Murad Products were and are directed towards consumers.

       111.    Defendant’s false, misleading, and deceptive representations and omissions were

material and are likely to mislead a reasonable consumer acting reasonably under the customary

or usual circumstances.

       112.    Defendant’s false, misleading, and deceptive representations and omissions have

resulted in consumer injury or harm to the public interest.

       113.    As a result of Defendant’s false, misleading, and deceptive statements,

representations of fact, and omissions, Plaintiff DeCoursey and the New York Subclass have

suffered and continue to suffer economic injury.

       114.    As a result of Defendant’s violations, Plaintiff DeCoursey and members of the New

York Subclass have suffered damages because: (a) they would not have purchased the Affected

Murad Products on the same terms, if at all, if they knew that the products were not safe for their

intended use; and (b) the Affected Murad Products do not have the characteristics, uses, benefits,

or qualities as promised.




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       115.    On behalf of herself and other members of the New York Subclass, Plaintiff

DeCoursey seeks to recover actual damages or five hundred dollars, whichever is greater for each

violation, three times actual damages, and reasonable attorneys’ fees.


                                           COUNT IV

           VIOLATION OF MISSOURI MERCHANDISING PRACTICES ACT
                        (Mo. Rev. Stat. §§ 407.010, et seq.)
                     (On behalf of the Missouri Subclass Class)
       116.    Plaintiff Sit hereby incorporates by reference the allegations contained in the

preceding paragraphs of this Complaint.

       117.    This claim is brought by Plaintiff Sit against Defendant on behalf of herself and the

Missouri Subclass.

       118.    Plaintiff Sit and Missouri Subclass members were at all relevant times consumers

under the Missouri Merchandising Practices Act, Mo. Rev. Stat. §§ 407.010, et seq. (the

“MMPA”).

       119.    Plaintiff Sit and Missouri Subclass members purchased Affected Murad Products

primarily for personal, family or household purposes.

       120.    Defendant was at all relevant times engaged in “trade” or “commerce” under the

MMPA by way of its manufacturing, distributing, selling, marketing, and advertising the Affected

Murad Products at issue.

       121.    Defendant’s Affected Murad Products constitute “merchandise” under the MMPA.

       122.    Defendant’s foregoing acts and practices, including (1) failing to warn or disclose

to purchasers of the Affected Murad Products that the Affected Murad Products are not safe to use

in the eye area; (2) providing instructions to use the Affected Murad Products in the eye area; (3)

utilizing celebrities and influencers to advertise products and instruct consumers to use the


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Affected Murad Products in the eye area; (4) advertising or marketing the Affected Murad Products

while knowing, or in the direct position to know, that the Affected Murad Products should not

have been sold in the manner in which they are; and (5) representing that the Affected Products

are safe to use, were directed at consumers, including Plaintiff Sit and Missouri Subclass members.

       123.    Defendant’s foregoing deceptive acts and practices are misleading in a material way

because they fundamentally misrepresent the characteristics and quality of the Affected Murad

Products to induce consumers to purchase the same.

       124.    Defendant did not disclose material information to consumers, including Plaintiff

Sit and Missouri Subclass members.

       125.    Defendant’s foregoing deceptive acts and practices, including its omissions while

engaged in business, were and are deceptive acts or practices in violation of §§ 407.020.

       126.    Plaintiff Sit and Missouri Subclass members suffered damages when they

purchased the Affected Murad Products. Defendant’s unconscionable, deceptive, and/or unfair

practices caused actual damages to Plaintiff Sit and the Missouri Subclass members who were

unaware that the Affected Murad Products were unsafe for their intended use at the time of

purchase.

       127.    Defendant’s foregoing deceptive acts and practices, including its omissions, were

likely to deceive, and did deceive, consumers acting reasonably under the circumstances.

       128.    Consumers, including Plaintiff Sit and Missouri Subclass members, would not have

purchased the Affected Murad Products on the same terms, if at all, if they knew that the Affected

Murad Products were not safe for their intended use

       129.    As a direct and proximate result of Defendant’s deceptive acts and practices,

including its omissions, Plaintiff Sit and Missouri Subclass members have been damaged as



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alleged herein, and are entitled to recover actual damages, punitive damages, and/or restitution to

the extent permitted by law, including class action rules, in an amount to be proven at trial.

        130.    In addition, Plaintiff Sit and Missouri Subclass members seek equitable and

injunctive relief against Defendant on terms that the Court considers reasonable, and reasonable

attorneys’ fees and costs.


                                             COUNT V

                            NEGLIGENCE – FAILURE TO WARN
                      (On behalf of the Plaintiffs and the Nationwide Class)

        131.    Plaintiffs hereby incorporate all other paragraphs of this Complaint and restate them

as if fully set forth herein.

        132.    Plaintiffs bring this cause of action against Defendant individually and on behalf of

the Nationwide Class.

        133.    At all relevant times, Defendant was responsible for formulating, designing,

constructing, testing, manufacturing, inspecting, distributing, labeling, marketing, advertising,

and/or selling Affected Murad Products to Plaintiffs and the Nationwide Class.

        134.    At all relevant times, it was reasonably foreseeable by Defendant that the Affected

Murad Products would be used in the eye area.

        135.    At all relevant times, Defendant knew or had reason to know that the Affected

Murad Products were not safe to be used in the eye area because they contained Unsafe Color

Additives.

        136.     Defendant, as the designer, manufacturer, tester, distributor, marketer, advertiser,

and/or seller of Affected Murad Products, had a duty to warn Plaintiff and the Nationwide Class

that the products should not be used in the eye area.


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       137.    At minimum, the duty arose for Defendant to warn consumers that the products

were not safe to be used in the eye area.

       138.    Defendant was negligent and breached its duty of care by negligently failing to

provide adequate warnings to purchasers and users of the Affected Murad Products, including

Plaintiffs and the Nationwide Class, regarding usage of the products and the fact that they should

not be used in the eye area, because they contain Unsafe Color Additives.

       139.    Defendant was negligent and breached its duty of care by failing to include any

information regarding the risks and resulting injuries of using the Affected Murad Products in the

eye area.

       140.    Defendant was negligent and breached its duty of care by concealing the risks of

and failing to warn consumers that the Affected Murad Products contain unsafe ingredients and

are not safe for their intended purpose.

       141.    Defendant knew, or through the exercise of reasonable care, should have known of

the dangers associated with using the Affected Murad Products as described herein, and knew that

Plaintiffs and Nationwide Class members could not reasonably be aware of those risks. Defendant

failed to exercise reasonable care in providing Plaintiffs and the Nationwide Class with adequate

warnings.

       142.    As a direct and proximate result of Defendant’s failure to adequately warn

consumers that the Affected Murad Products should not be used in the eye area, and that if used

as intended, could cause injuries and other damages, Plaintiff and the Nationwide Class have

suffered damages, as described herein.




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                                            COUNT VI

                                    UNJUST ENRICHMENT
                      (On behalf of the Plaintiffs and the Nationwide Class)
        143.    Plaintiffs hereby incorporate all other paragraphs of this Complaint and restate them

as if fully set forth herein.

        144.    Plaintiffs and Nationwide Class members conferred benefits upon Defendant.

Plaintiffs and Class members paid money for Defendant’s Affected Murad Products that they

would not have purchased or would not have purchased on the same terms, had they known that

the products were unsafe for their intended use.

        145.    Defendant has unjustly retained the benefits conferred upon by Plaintiffs and Class

members.

        146.    Defendant retained those benefits under circumstances that make it inequitable for

Defendant to retain such benefits. Specifically, Defendant retained those benefits even though

Defendant’s Affected Murad Products contain Unsafe Color Additives rendering them unsafe for

their intended use.

        147.    If Plaintiffs and Nationwide Class members had known the true nature of

Defendant’s Affected Murad Products, they would not have purchased the products or would not

have purchased them on the same terms. Plaintiffs and Nationwide Class members are therefore

entitled to disgorgement and/or restitution as prayed for hereunder.

        148.    Because Defendant’s retention of the non-gratuitous benefits conferred on it by

Plaintiffs and members of the Class is unjust and inequitable, Defendant must pay restitution to

Plaintiffs and members of the Nationwide Class for its unjust enrichment, as ordered by the Court.




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                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, on behalf of themselves and the proposed Classes, pray for

relief and judgment against Defendant as follows:

              a.      Certifying the Classes pursuant to Rule 23 of the Federal Rules of Civil

                      Procedure, appointing Plaintiffs as representatives of the Classes, and

                      designating Plaintiffs’ counsel as Class Counsel;

              b.      Awarding Plaintiffs and the Classes compensatory damages, in an amount

                      exceeding $5,000,000, to be determined by proof;

              c.      Awarding Plaintiffs and the Classes appropriate relief, including but not

                      limited to actual damages;

              d.      For declaratory and equitable relief, including restitution and disgorgement;

              e.      For an order enjoining Defendant from continuing to engage in the wrongful

                      acts and practices alleged herein;

              f.      Awarding Plaintiffs and the Classes the costs of prosecuting this action,

                      including expert witness fees;

              g.      Awarding Plaintiffs and the Classes reasonable attorneys’ fees and costs as

                      allowable by law;

              h.      Awarding pre-judgment and post-judgment interest; and

              i.      Granting any other relief as this Court may deem just and proper.




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                                  JURY TRIAL DEMANDED

       Plaintiffs hereby demand a trial by jury of all claims so triable.



Dated: April 14, 2022                         Respectfully submitted,

                                              LEVI & KORSINSKY, LLP

                                              /s/ Mark S. Reich_________
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